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         Exhibit	  U	  
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  2207 Bridgepointe Pkwy to San Francisco International Airport                                Drive 7.9 miles, 10 min




                                                                              Map data ©2022 Google   2 mi



        via US-101 N                                 10 min
        Fastest route now due to traffic            7.9 miles
        conditions

        via J Hart Clinton Dr and US-101             11 min
        N                                           7.6 miles




Explore San Francisco International Airport




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